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 8                           UNITED STATES DISTRICT COURT
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 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
12                                                  )
12         Plaintiff,                               )
13                                                  )   [PROPOSED] ORDER GRANTING
13         v.                                       )   PLAINTIFF HOOPA VALLEY
14                                                  )   TRIBE’S MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
15
     RECLAMATION; DEBRA ANNE HAALAND,               )
15
16   in her official capacity as Secretary of the   )
16   Interior; MARIA CAMILLE CALIMLIM               )
17   TOUTON, in her official capacity as            )
17   Commissioner of the United States Bureau of    )
18   Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
19
     Reclamation California-Great Basin Regional    )
19   Director; and UNITED STATES                    )
20
     DEPARTMENT OF THE INTERIOR                     )
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21                                                  )
21         Defendants.                              )
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27   [PROPOSED] ORDER GRANTING PLAINTIFF’S
     MOTION FOR PRELIMINARY INJUNCTION - 1
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          Case 1:20-cv-01814-JLT-EPG Document 108-2 Filed 12/16/22 Page 2 of 2



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            This matter came on regularly for hearing on January 20, 2023. Plaintiff Hoopa Valley
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     Tribe was represented by Thane Somerville of Morisset, Schlosser, Jozwiak & Somerville PC.
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     Defendants were represented by J. Scott Thomas of the United States Department of Justice,
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     Environmental and Natural Resources Division.
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            The Court has fully considered the briefs and evidence filed in support and in opposition
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     to the Motion for Preliminary Injunction, and the oral argument, testimony, and documents
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     presented at the hearing. The Court finds that: (a) Plaintiff will likely succeed on the merits of
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     its Ninth Claim for Relief in its First Amended and Supplemental Complaint for Declaratory and
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 9   Injunctive Relief (Dkt. #97), at issue in this motion for preliminary injunction, because federal
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10   Defendants have unlawfully disregarded the statutory delegation of sovereignty and right of
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11   concurrence found in CVPIA § 3406(b)(23); (b) implementation of the Trinity River Winter
12
12   Flow Variability Project will result in irreparable harm to the Trinity River and its fishery below
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13   Lewiston Dam and accordingly to Hoopa, as well as to Hoopa’s sovereignty; (c) the balance of
14
14   hardships favors injunctive relief; and (d) an injunction is in the public interest.
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15          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motion for Preliminary
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16   Injunction is hereby GRANTED, and the Court HEREBY RESTRAINS AND ENJOINS
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17   Defendants, and their officers, agents, employees, and any other parties, persons, or entities who
18
18   are in active concert or participation with them, from any implementation of the Trinity River
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19   Winter Flow Variability Project in the absence of the concurrence of the Hoopa Valley Tribe.
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20          This Preliminary Injunction shall take effect immediately. The requirement for bond or
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21   security is waived.
22
22          Dated this ______ day of ____________, 20___.
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25                                  __________________________________________
25
26                                  Honorable Jennifer L. Thurston
                                    U.S. District Judge
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27   [PROPOSED] ORDER GRANTING PLAINTIFF’S
     MOTION FOR PRELIMINARY INJUNCTION - 2
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